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IN THE UNITED STATES DISTRICT COURT FOR
THE MIDDLE DISTRICT OF PENNSYLVANIA

JEREMY BAILEY, "JURY TRIAL DEMANDED"
PLAINTIFF CIVIL NU.
Us. DISTRICT JUDGE
CURRECTLONAL OFFICER JOHN DOE I, MAGISTRATE JUDGE
CURRECTLUNAL OFFLCER JOHN DOE IZ, FILED
SERGEANT JOHN DOE 1, LIEUTENANT JOHN DOE L. SCRANTON
COMPLAINT OCT @7 2020
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PER LAY
i. INTRODUCTLON . DEPOT YCL ERG

1. THiS IS A CIVIL RIGHTS ACTION FILED PURSUANT TO 42 U.5.C. SECTION 1903 BY
PLAINTIFF JEREMY BAILEY, AN INMATE CURRENTLY HOUSED AT THE STATE CORRECTIONAL
INSTITUTIUN (SCL) AT COAL TOWNSHIP, IN COAL TOWNSHIP, PENNSYLVANIA, AGAINST
VARIOUS CORRECTIUNAL OFFICERS EMPLOYED AT SC1 COAL TOWNSHIP, FOR DEPRIVING
PLAINTIFF OF HiS RIGHTS GUARANTEED BY THE 8th AND 44th AMENDMENTS OF THE UNITED
STATES CONSTITUTION, FOR VIOLATIONS OF UNITED STATES CONSTITUTIONAL RIGHTS UNDER
SECTION 1983 TO REDRESS THE DEPRIVATIONS, UNDER COLOR OF STATE LAW, OF RIGHTS
SECURED BY THE CONSTITUTION OF THE UNITED STATES.

II. JURISDICTION

2. THIS COURT HAS JURISDICTION UNDER 2d U.S.C. 1531, 1343(a)(3) and (4).

Til. VENUE

3. PURSUANT TU 26 U.S.C. SECTION 1391(b)(2) THE UNITED STATES DISTRICT COURT FOR
THE MIDDLE DISTRICT 15 THE APPROPRIATE VENUE.
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IV. PARTIES

4. PLAINTIFF, JEREMY BAILEY, WAS AT ALL TIMES MENTIUNED IN THIS CUMPLAINT, A
PRISONER UF THE PENNSYLVANIA DEPARTMENT UF CORRECTIONS AND HOUSED AT SCI COAL
TUWNSHIP, 71 KELLEY DRIVE, CUAL TOWNSHIP, PENNSYLVANIA 17860-102U.

5. AS YET UNIDENTIFIED CORRECTIONAL OFFILER JOHN DOE I, WAS AT ALL TIMES

MENTIONED IN THIS COMPLAINT, AN EMPLOVEE UF THE PENNSYLVANIA DEPARTMENT OF
CORRECTIUNS AT SC. COAL TOWNSHIP. 1 KELLEY DRIVE, COAL TOWNSHIP, PA 17866-1020.

6. AS YET UNIDENTIFIED CORRECTIUNAL OFFICER JOHN DOE IT, WAS AT ALL TIMES
MENTIONED IN THIS COMPLAINT, AN EMPLOYEE OF THE PENNSYLVANIA DEPARTMENT UF
CORRECTIUNS AT SCi CUAL TOWNSHIP, 7 KELLEY DRIVE, COAL TOWNSHIP, PA 178ob-1uU2U.

7. AS YET UNIDENTIFLED SERGEANT JOHN DOE I, WAS AT ALL TIMES MENTIONED IN THIS
COMPLAINT, AN EMPLUYEE OF THE PENNSYLVANIA DEPARTMENT OF CORRECTIONS AT SC1 CUAL
TOWNSHIP, 1 KELLEY DRIVE, COAL TOWNSHIP, PA 17666-1U20

4, AS YET UNIDENTIFIED LIEUTENANT JOHN DOE I, WAS AT ALL TIMES MENTIONED IN THiS
CUMPLAINT, AN EMPLUVEE OF THE PENNSYLVANIA DEPARTMENT OF CURRECTIONS AT SCL COAL
TOWNSHIP, 1 KELLEY DRIVE, CUAL TOWNSHIP, PA 17866-1020.

V. FACTS

9. PLAINTIFF ALLELES THAT DESPITE REPEATED WARNINGS AND REQUESTS FOR ASSISTANCE,
DEFENDANTS FAILED TO PROTECT, AND WERE DELIBERATELY INDIFFERENT TU PLAINTIFF'S
PERSONAL SAFETY BY IGNORING THREATS TO HIS PERSONAL SAFETY BY AN INMATE, BY
DELIBERATELY MOVING A SINGLE CELL STATUS (Z-CUDE) INMATE INTO THE CELL WITH
PLAINTIFF AND REFUSING TU MOVE THE INMATE AFTER COUNTLESS WARNINGS AND THREATS
BY THE INMATE TO CAUSE BODILY INJURY TO THE PLAINTIFF. SHORTLY AFTER THE FINAL
WARNING PLAINTLFF WAS SAVAGELY ATTACKED BY THE INMATE, CAUSING PLAINTIFF BUDLILY
HARM.

10. ON SEPTEMBER 10,2019, PLAINTIFF WAS HOUSED IN THE RESTRICTED HUUSING UNIT ON
AN UNRELATED INCIDENT.

41. DEFENDANT, CORRECTIONAL OFFLCER JOHN DOE I, AND CORRECTIONAL OFFICER JOHN
DUE IZ, APPRUACHED INMATE McCULLOUGH GA-6396, WHO WAS A SINGLE CELL STATUS (Z~
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CODE) INMATE, WITH ORDERS TO PACK HIS BELONGINGS IN ORDER TO BE HUUSED IN CELL
NO. 5 WITH PLAINTIFF.

12. INMATE McCULLOUGH NOTIFIED DEFENDANTS CORRECTIONAL OFFICERS JOHN DOE I AND
II THAT HE WAS A (Z-CODE) AND WAS NOT TO HOUSED IN A CELL WITH ANOTHER INMATE.

13. DEFENDANTS, CURRECTIONAL OFFICERS JOHN DO& I AND If, ORDERED INMATE
McCULLUUGH TU OBEY THEIR DIRECT ORDER OR BE EXTRACTED FROM THE CELL AND RECEIVE
A MISCONDUCT REPORT.

14. INMATE MeCULLOUGH COMPLIED WITH THEIR URDER AND REQUESTED THE PRESENCE OF
SERGEANT JOHN DOE I, AND LIEUTENANT JOHN DOE I.

15. DEFENDANT, CORRECTIONAL OFFICER JOHN DUE I, INFORMED INMATE McCULLOUGH THAT
THE SREGEANT AND THE LIEUTENANT WERE AWARE OF THE MOVEMENT AND WOULD NOT BE
PRESENT DURING THE MOVE.

To. INMATE McCULLOUGH BECAME ANGRY AND STATED TO CORRECTIONAL OFFICERS JOHN DOE
I AND II, THAT "WHOEVER HE WAS BEING PLACED IN THE CELL WITH WAS GOING TU GET
FUCKED UP BY HIM".

17. DEFENDANTS, JOHN DOE I AND II BROUGHT INMATE McCULLOUGH TU PLAINTIFF'S CELL
DUUR AND ORDERED PLAINTIFF TU BE HANDCUFFED IN URDER TO RECEIVE A CELL-MATE.

16. PLAINTIFF INFORMED THE DEFENDANTS, CORRECTIONAL OFFICER'S JOHN DOE I AND II,
THAT HE HEARD THE THREAT INMATE McCULLOUGH MADE ABOUT WHAT HE WAS GOING TO DO TO
WHOEVER HE WAS PLACED IN THE CELL WiITh..

19. PLAINTIFF REQUESTED THE PRESENCE OF SERGEANT JOHN DOE I, AND LIEUTENANT JOHN
DOE I.

20. DEFENDANT, CORRECTIONAL OFFICER JOHN DOE I, ORDERED PLAINTIFF TO BE
HANDCUFFED OR RECEIVE A MISCONDUCT REPORT.

21. PLAINTIFF COMPLIED WITH THE ORDER.

22. INMATE McCULLOUGH ENTERED THE CELL WHILE CONTINUOUSLY INFORMING DEFENDANTS
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CORRECTIONAL OFFICER'S JOHN DOE I, AND II, THAT HE WAS SINGLE CELL STATUS AND
NOT ALLOWED TO HAVE A CELL-MATE.

23. DEFENDANTS, CORRECTIONAL OFFICER'S JOHN DOE I, AND II, DID NOT RESPOND UNTIL
AFTER TAKING THE HANDCUFFS OFF OF PLAINTIFF AND INMATE McCULLOUGH. DEFENDANT,
CORRECTIONAL OFFICER JOHN DOE I, STATED Y'ALL CAN FIGHT ALL Y'ALL WANT NOW",

BEFORE LEAVING.

24, INMATE McCULLOUGH STATED TO PLAINTIFF TO KEEP HIS DISTANCE WHILE IN THE CELL
IF HE DID NOT WANT TO GET HURT.

25. PLAINTIFF TRIED HIS BEST TO COMPLY WITH INMATE McCULLOUGH'S REQUEST.

26. ON 9-10-2019, AT APPROXIMATELY 10:30am, WHILE LUNCH TRAYS WERE BEING SERVED,
PLAINTIFF REQUESTED TO SPEAK WITH DEFENDANT LIEUTENANT JOHN DUE I. AGAIN
PLAINTIFF WAS DENIED.

27. ON 9-10-2019, AT APPROXIMATELY 11:3Uam, LUNCH TRAYS WERE BEING COLLECTED AND
INMATE McCULLOUGH AGAIN NOTIFIED CORRECTIONAL OFFICER JOHN DOE I THAT HE WAS A
Z-CUDE INMATE AND IF NOT MOVED HE WOULD ATTACK PLAINTIFF.

24. ON 9-10-2019 AT APPROXIMATELY 12:00pm ALL DEFENDANTS ENTERED H-A HOUSING
UNIT.

29. PLAINTIFF AND INMATE McCULLOUGH NOTIFIED ALL DEFENDANTS THAT INMATE
McCULLOUGH WAS A Z-CODE INMATE AND DID NOT BELONG IN A CELL WITH ANYBODY.

30. PLAINTIFF NOTIFIED ALL DEFENDANTS THAT INMATE McCULLOUGH WAS THREATENING HIS
LIFE AND THAT HE WAS A Z-CUDE INMATE.

31. DEFENDANTS IGNORED PLAINTIFF'S CONCERWS AND DEFENDANT LIEUTENANT JOHN DOE I
QRDERED PLAINTIFF TO GET AWAY FROM THE DOOR.

32. ON 9-10-2019 AT APPROXIMATELY 1:00pm INMATE McCULLOUGH DEMANDED PLAINTIFF
NUT MOVE FROM HIS BUNK IF HE WANTED TO LIVE..

33. PLAINTIFF EVENTUALLY GOT OFF HIS BUNK TO USE THE BATHROOM AND WHEN PLAINTIFF
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ATTEMPTED TO RETURN TO HIS BUNK INMATE McCULLOUGH KNOCKED PLAINTIFF UNCONSCIOUS.

34, ON 9-10-2079 AT APPROXIMATELY 2:00pm PLAINTIFF AWAKENED ON THE FLOOR OF HIS
CELL WITH HIS LEGS TIED TOGETHER AND HIS ARMS TIED BEHIND HIS BACK.

35. PLAINTIFF BEGAN YELLING FOR HELP WHILE INMATE McCULLOUGH STOOD OVER HIM
STARING AT HIM.

36. ON 9-10-2019 AT APPROXIMATELY 2:15pm C.O.I HOUSER, DURING A TUUR OF H-A
HOUSING UNIT, DISCOVERED PLAINTIFF ON THE FLOOR YELLING WITH HIS LEGS AND ARMS
TIED TOGETHER.

37. €.0.1 HOUSER RADIGED TO LIEUTENANT PASSERITTI AND LIEUTENANT PASSERITTI FOR
A HAND HELD CAMERA RECORDER.

38. INMATE McCULLOUGH WAS THEN HANDCUFFED AND REMOVED FROM THE CELL.

39. AN UNIDENTIFIED CORRECTLONAL OFFICER, ON 2-10 SHIFT, ENTERED THE CELL AND
REMOVED THE ROPE FROM PLAINTIFF'S ARMS AND LEGS.

40, PLAINTIFF WAS TAKEN OUT OF THE CELL TO A MEDICAL TRIAGE AREA WHERE HE SHOWED
HIS INJURIES TO A NURSE.

41, PLAINTIFF HAS BEEN IN PHYSICAL THERAPY FOR BACK PAIN STEMMING FROM THE
ASSAULT.

42, PLAINTIFF HAS BEEN IN MENTAL ANGUISH SINCE THE ASSAULT.

43, SINCE THE 9-10-19 ASSAULT PLAINTIFF HAS BEEN UNABLE TO LIVE IN A CELL WITH
ANOTHER INMATE.

4a, PLAINTIFF HAS BEEN REVIEWED BY NUMEROUS PSYCHOLOGISTS AT SCI COAL TOWNSHIP.

45. ON 9-26-19 PLAINTIFF WAS PLACED IN A PSYCHIATRIC ONSERVATION CELL (P.0.C.)
DUE TO HIS MENTAL ANGUISH OF POSSIBLY BEING PLACED IN A CELL WITH ANOTHER INMATE

46, PLAINTIFF SPENT APPROXIMATELY FOUR(4) DAYS IN THE (P.0.C.) AND WAS RELEASED
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TO GENERAL POPULATION BY THE PSYCHIATRY STAFF WITH A "TEMPORARY" Z-CODE.

&7,. PLAINTIFF HAS BEEN IN GENERAL POPULATION WITHOUT A CELL-MATE SINCE BEING
RELEASED FROM THE PSYCHIATRIC OBSERVATION CELL.

VI. EXHAUSTION OF ADMINISTRATIVE REMEDIES

48. PLAINTIFF HAS EXHAUSTED AVAILABLE ADMINISTRATIVE REMEDIES THROUGH DC-ADM 804
INMATE GRIEVANCE SYSTEM.

VII. CAUSE OF ACTION

49. PLAINTIFF INCORPORATED BY REFERENCE PARAGRAPHS 71 THROUGH 48 ABOVE AS FULLY
SET FORTH HEREIN FOR ALL CAUSES OF ACTION.

50. DEFENDANT, CORRECTIONAL OFFICER JOHN DOE I, AND CORRECTIONAL OFFICER JUHN
DUE II FAILED TO PROTECT PLAINTIFF IN THAT THEY WERE AWARE THAT INMATE
McCULLOUGH WAS A SINGLE CELL STATUS INMATE AND NOT AUTHORIZED TO HAVE CELL-MATES
VET STILL FURCED INMATE McCULLGUGH IN THE CELL WITH PLAINTIFF, CAUSING THE
ASSAULT, THUS VIOLATING PLAINTIFF'S EIGHTH AMENDMENT RIGHT OF THE UNITED STATES
CONSTITUTION.

51. DEFENDANTS, CORRECTIONAL OFFICER JOHN DOE I AND iI, WERE WARNED BY INMATE
McCULLOUGH THAT HE WOULD HARM WHOEVER HE WAS PLACED IN THE CELL WITH AND
DEFENDANTS WERE DELIBERATELY INDIFFERENT IN VIOLATION OF PLAINTIFF'S
CONSTITUTIONAL RIGHTS.

52. DEFENDANT SERGEANT JOHN DOE I, WAS AWARE OR SHOULD HAVE BEEN AWARE, AS A
RANKING OFFICER, THAT INMATE McCULLOUGH WAS A Z-CODE INMATE AND A DANGER TO
UTHER INMATES BUT DISREGARDED THAT INFORMATIUN AND SIGNED OFF ON THE MOVE FOR
PLAINTIFF TO BE ASSAULTED.

53. DEFENDANT LIEUTENANT JOHN DOE I, VIOLATED PLAINTIFF'S RIGHT AGAINST CRUEL
AND UNUSUAL PUNISHMENT UNDER THE EIGHTH AMENDMENT OF THE UNITED STATES
CONSTITUTION BY FAILING TO INTERVENE WHEN TOLD NUMEROUS TIMES BY INMATE

McCULLOUGH AND PLAINTIFF THAT INMATE McCULLOUGH WAS NOT SUPPOSE TO HAVE A CELL
MATE AND IF MOVED HE WOULD HARM PLAINTIFF.
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54, DEFENDANTS CURRECTIUNAL OFFICER JOHN DOE I AND II, KNEW THE DANGER POSED HY
INMATE McCULLOUGH AND KNEW OF THE THREATS AND IMMEDIATE DANGER HE POSED To
PLAINTIFF BUT DELIBERATELY DISREGARDED SAID WARNINGS BY REFUSING TU TAKE
APPROPRIATE ACTIONS THAT WOULD HAVE PREVENTED THE SUBSEQUENT ASSAULT ON
PLAINTIFF THEREBY VLOLATING PLAINTIFF'S EIGHTH AND FOURTEENTH AMENDMENT RIGHTS
OF THE UNITED STATES CONSTITUTION.

55. AS A RESULT OF THIS CONSTITUTIONAL VIOLATION, PLAINTIFF SUFFERED INJURIES
AND DAMAGES. ,

VIII. LEGAL CLAIMS

56. PLAINTIFF REALLEGES AND INCORPURATES BY REFERENCE PARAGRAPHS ONE(1) THROUGH
FIFTY~FIVE(55).

37. EACH DEFENDANT ARBITRARILY FAILED TO PROTECT PLAINTIFF. EACH DEFENDANT
SUBJECTED PLAINTIFF TU CRUEL AND UNUSUAL PUNISHMENT AND DEPRIVED PLALNTIFF OF
LIFE AND LIBERTY WITHOUT DUE PROCESS OF THE LAW AND WAS DELIBERATELY INDIFFERENT
IN VIOLATION OF PLAINTIFF'S CLEARLY ESTABLISHED CONSTITUTIONAL RLGHTS.

58. EACH DEFENDANT iS BEING SUED IN BOTH THEIR OFFICIAL AND INDIVIDUAL
CAPACITIES.

59. AT ALL TIMES RELEVANT TO THE ALLEGATIONS IN THIS COMPLAINT, DEFENDANTS WERE
ACTING UNDER COLOR OF STATE LAW.

60. PLAINTIFF SEEKS MONETARY DAMAGES FROM DEFENDANTS IN THEIR INDIVIDUAL
CAPACITIES.

IX. REQUESTED RELIEF

61. WHEREFORE, PLAINTIFF RESPECTFULLY REQUESTS THAT THIS COURT:

a) JUDGMENT BY A JUDGE AND OR JURY THAT DEFENDANTS FAILED TO PROTECT PLAINTIFF ,
WAS DELIBERATELY INDIFFERENT TOWARD PLAINTIFF AND SUBJECTED PLAINTIFF TO CRUEL
AND UNUSUAL PUNISHMENT, AND DENIED PLAINTIFF DUE PROCESS AND EQUAL PROTECTION IN
Case 1:20-cv-01836-YK-LT Document1 Filed 10/07/20 Page 8 of 12
VIOLATION OF PLAINTIFF'S CLEARLY ESTABLISHED CONSTITUTIONAL RIGHTS.
b) AWARD COMPENSATURY DAMAGES TO THE PLAINTIFF IN THE FOLLUWING AMOUNT;

1. 100,000 AGAINST DEFENDANT CORRECTIONAL OFFICER JOHN DOE I FOR VIOLATING
PLAINTIFF'S CONSTITUTIONAL RIGHTS.

2. $100,000 AGAINST DEFENDANT CORRECTIONAL OFFICER JOHN DOE IL FOR VIOLATING
PLAINTIFF'S CONSTITUTIONAL RIGHTS.

3. $100,000 AGAINST DEFENDANT SERGEANT JOHN DOE I FOR VIOLATING PLAINTIFF'S
CONSTITUTIGNAL RIGHTS.

4, $100,000 AGAINST DEFENDANT LIEUTENANT JOHN DOE I FOR VIOLATING PLAINTIFF'S
CONSTITUTIONAL RIGHTS.

c) AWARD PUNITIVE DAMAGES TO PLAINTIFF IN THE FOLLOWING AMOUNT;
1. $25,000 AGAINST EACH DEFENDANT.

d) AWARD A PERMANANT INJUNCTION THAT PLAINTIFF REMAIN A Z-CODE (SINGLE CELL
STATUS) INMATE THE REMALNDER OF HIS TIME WITHIN THE D.O.C.

62. AWARD THE COSTS OF THIS ACTION TO DEFENDANTS.
63. AWARD SUCH OTHER FURTHER RELIEF AS THIS COURT DEEM APPROPRIATE.

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DATED: ©

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IN THE UNITED STATES DISTRICT COURT FUR
THE MIDDLE DISTRICT OF PENNSYLVANIA

JEREMY BAILEY, NOURY TRIAL DEMANDED"
PLAINTIFF CIVIL NO.
VS. DISTRICT JUDGE
CORRECTIONAL OFFICER JOHN DOE I, MAGISTRATE JUDGE

CORRECTIONAL OFFICER JOHN DUE II,
SERGEANT JOHN DOE I, LIEUTENANT JOHN DOE I.

VERIFICATION

PURSUANT TO 28 U.S.C. §1746, PLAINTIFF DECLARES WINDER PENALTY OF PERJURY THAT
FD Ose eee
THE FOREGOING 1S TRUE AND CORRECT. EXECUTED ON , 2020.

* A VERIFIED COMPLAINT MAY BE CONSIDERED AN AFFIDAVIT. RILEY V. BEARD, 2011 U.S.
DIST. LEXIS 83445 (M.D. Pa. 2011).

CERTIFICATE OF SERVICE

PLALNTIFF HEREBY CERTIFY THAT A TRUE AND CORRECT COPY OF THE "COMPLAINT" WAS
GIVEN TO PRISON OFFICIALS FOR PROCESSING AND FORWARDING, TO BE SERVED UPON THE
FOLLQWING PERSON ON THE FOLLOWING DATE, AT THE LOCATION AND IN THE MANNER
INDICATED BELOW, UNDER PENALTY OF PERJURY 28 U.S.C. §1746.

VIA FIRST CLASS MAIL, POSTAGE PRE-PAID

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DATED:

OFFICE OF THE CLERK

UNITED STATES DISTRICT COURT

FOR THE MIDLE DISTRICT OF PENNSYLVANIA
235 NORTH WASHINGTON AVENUE

P.O. BOX 4748

SCRANTON, PA 18501-1748

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IN THE UNITED STATES DISTRICT COURT FOR
THE MIDDLE DISTRICT OF PENNSYLVANIA

JEREMY BAILEY "JURY TRIAL DEMANDED"

PLAINTIFF CIVIL NO.
Ve DISTRICT JUDGE
C.0.1 JOHN DOE I, €.0.1 JOHN DOE IT, MAGISTRATE JUDGE
C.0.12 JOHN DOE 1, C.O.III JOHN DOE I

DEFENDANTS

CERTIFICATE OF COMPLIANCE

I CERTIFY THAT THIS FILING COMPLIES WITH THE PROVISIONS OF THE PUBLIC ACCESS

POLICY OF THE UNIFIED JUDICIAL SYSTEM OF PENNSYLVANIA: CASE RECORDS OF THE

APPELLATE AND TRIAL COURTS THAT REQUIRE FILING CONFIDENTIAL INFORMATION AND
DOCUMENTS DIFFERENTLY THAN NON-CONFIDENTJAL INFORMATION AND DOCUMENTS.

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VI. CAUSE OF ACTION

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Cite the U.S. Civil Statute under which you are filing (Do aor cite jurisdictional statutes untess diversity):

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Brief description of cause: Salou \p Raekeck) Cee ab aes yd rscal. Von clan 4

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COMPLAINT: UNDER RULE 23, F.R.Cv.P. Nc JURY DEMAND: — f Yes CANO.
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